           Case 3:21-cv-06354-JCS Document 10 Filed 09/22/21 Page 1 of 3




 1   PILLSBURY WINTHROP SHAW PITTMAN LLP
     MARK D. LITVACK (SBN 183652)
 2   mark.litvack@pillsburylaw.com
     JEFFREY D. WEXLER (SBN 132256)
 3   jeffrey.wexler@pillsburylaw.com
     725 South Figueroa Street, 36th Floor
 4   Los Angeles, CA 90017-5524
     Telephone:        213.488.7100
 5   Facsimile:        213.629.1033

 6   Attorneys for Defendant AS AMERICA, INC. d/b/a
     AMERICAN STANDARD BRANDS
 7
     FINKELSTEIN & KRINSK LLP
 8   JOHN J. NELSON (SBN 317598)
     jjn@classactionlaw.com
 9   501 West Broadway, Ste. 1260
     San Diego, CA 92101
10   Telephone:        619.238.1333
     Facsimile:        619.238-5425
11
     Attorneys for Plaintiff ROBERT WEISS
12   and the Putative Class

13                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
14
     ROBERT WEISS, individually and on behalf of             Case No. 3:21-cv-06354-JCS
15
     all others similarly situated,
                                                             STIPULATION TO EXTEND TIME FOR
16
                            Plaintiff,                       DEFENDANT AS AMERICA, INC. d/b/a
                                                             AMERICAN STANDARD BRANDS TO
17
            vs.                                              RESPOND TO COMPLAINT [Local Rule
                                                             6-1(a)]
18
     AS AMERICA, INC. d/b/a AMERICAN
     STANDARD BRANDS, a Delaware                              Complaint Served: September 1, 2021
19
     corporation,                                             Current Response Date: September 22, 2021
                                                              New Response Date: October 22, 2021
20
                            Defendant.
21

22

23          WHEREAS, on September 1, 2021, plaintiff Robert Weiss (“Plaintiff”) served the summons

24   and Complaint on defendant AS America, Inc. d/b/a American Standard Brands (“American

25   Standard”), through its registered agent for service of process;

26          WHEREAS, the current deadline for American Standard to answer or otherwise respond to

27   the Complaint is September 22, 2021;

28                                                      1
                                                      STIP. EXTENDING TIME TO RESPOND TO COMPLAINT
                                                                              Case No: 3:21-CV-06354-JCS
                                                                                            4817-3804-0060.v1
             Case 3:21-cv-06354-JCS Document 10 Filed 09/22/21 Page 2 of 3




 1            WHEREAS, American Standard has requested, and Plaintiff has agreed to, a 30-day

 2   extension of time, until October 22, 2021, for American Standard to answer or otherwise respond to

 3   the Complaint; and

 4            WHEREAS, this extension will not alter the date of any event or any deadline already fixed

 5   by Court order;

 6            THEREFORE, IT IS HEREBY STIPULATED by and between the parties through their

 7   respective attorneys that, pursuant to Local Rule 6.1(a), the time by which American Standard may

 8   answer or otherwise respond to Plaintiff’s Complaint shall be extended to and including October 22,

 9   2021.

10
     Dated: September 22, 2021                     MARK D. LITVACK
11                                                 JEFFREY D. WEXLER
                                                   PILLSBURY WINTHROP SHAW PITTMAN LLP
12
                                                      /s/ Mark D. Litvack
13                                          By:    MARK D. LITVACK, Attorneys for Defendant AS
                                                   AMERICA, INC. d/b/a AMERICAN STANDARD
14                                                 BRANDS
15

16                                                 FINKELSTEIN & KRINSK LLP
                                                   JOHN J. NELSON
17
                                                      /s/ John J. Nelson
18                                          By:    JOHN J. NELSON, Attorneys for Plaintiff ROBERT
                                                   WEISS and the Putative Class
19

20

21

22

23

24

25

26

27

28                                                     2
                                                     STIP. EXTENDING TIME TO RESPOND TO COMPLAINT
                                                                              Case No: 3:21-cv-06354-JCS
                                                                                             4817-3804-0060.v1
           Case 3:21-cv-06354-JCS Document 10 Filed 09/22/21 Page 3 of 3




 1          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 2   filing of this document has been obtained from John J. Nelson, counsel for plaintiff Robert Weiss

 3   and the Putative Class.

 4                                                         _______/s/ Mark D. Litvack
                                                           Mark D. Litvack
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                     3
                                                     STIP. EXTENDING TIME TO RESPOND TO COMPLAINT
                                                                              Case No: 3:21-cv-06354-JCS
                                                                                              4817-3804-0060.v1
